
25 N.Y.2d 867 (1969)
The People of the State of New York, Respondent,
v.
Alfred Gonzague, Appellant.
Court of Appeals of the State of New York.
Argued May 29, 1969.
Decided July 2, 1969.
Morton L. Ginsberg for appellant.
Burton B. Roberts, District Attorney (Daniel J. Sullivan and L. Jeffrey Weingard of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, BERGAN, BREITEL and JASEN. Judge SCILEPPI dissents in part and votes to affirm as to all counts.
Judgment modified by reversing so much thereof as convicted defendant of three crimes of rape in the first degree, by dismissing the three counts of the indictment charging rape in the first degree and by vacating the sentences imposed thereon, and, as so modified, affirmed. Defendant's guilt of the crimes of rape in the first degree was not established beyond a reasonable doubt. Defendant was properly convicted of the crimes of sodomy in the first degree, assault in the second degree and illegal possession of a weapon.
